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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW

HARRISON COUNTY, MISSISSIPPI BY AND
THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;
WAYNE PAYNE; DIANE GATSON RILEY;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON; JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;

JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF
AMERICAN CORRECTIONAL ASSOCIATION DEFENDANTS

STATE OF MISSISSIPPI
COUNTY OF HARRISON

AFFIDAVIT OF SHERIFF GEORGE PAYNE, JR.

PERSONALLY CAME AND APPEARED BEFORE ME the undersigned authority
in and for the County and State aforesaid, the within named, George Payne, Jr., who, after
first being duly sworn by me on his oath, did depose and state the following:

1. My name is George Payne, Jr. | am over the age of twenty-one (21) years.
| have personal knowledge of the matters and facts contained in this Affidavit
and | am competent to testify to the matters stated herein. | was at all times
relevant to the Complaint in this Civil Action the duly elected Sheriff of
Harrison County and the final policy making official for the Harrison County

Sheriff's Office (“HCSO”) and the Harrison County Adult Detention Center

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(““HCADC”). Additionally, at all relevant times, | was the only policy maker for
the HCSD.

2. | had no communication or other personal interaction or contact with the
Plaintiff in this case at any time during the period of his incarceration at
HCADC.

3. | was not present during any of the alleged events in the Plaintiffs Complaint.
Furthermore, | was never present at any locations where he may have been
at any time.

4. | had no involvementin, or knowledge whatsoever of, any events or incidents
of November 6, 2005, involving Plaintiff which occurred in the booking area
of the Harrison County Adult Detention Center, until after the alleged incident
had already concluded.

3. The normal procedure would be for the Professional Standard director Capt.
Steve Campbell to perform an investigation of allegations of officer
misconduct or excessive use of force. In the event that Capt. Campbell
began an investigation and found no evidence to continue with a full
investigation, no Internal Affairs Report would be completed. Therefore, no
further information would be communicated to me other than the fact that
Capt. Campbell looked into the matter and felt no further action needed to
be taken

6. At no time was | made aware of any potential risk of harm to Plaintiff's health
or safety as an inmate at HCADC, nor was | aware of any facts from which
the inference could be drawn that a substantial risk of serious harm existed

as to Plaintiff.

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10.

At all relevant times, it was the policy of HCADC to provide a safe and
secure environment not only for inmates, but also for all officers and other
employees of HCADC, and further to protect the general public by preventing
any escapes from HCADC. (See Facility Goals, Purpose, and Mission Policy
and Procedure; Code of Ethics Policy and Procedure; and General Rules of
Conduct Policy and Procedure attached hereto as Exhibit “1- 3”).

Due to the nature and size of the HCADC, | could not personally supervise
all employees at one time; however, there were in place adequate policies
and procedures to ensure all officers were supervised and acted in a lawful
and professional manner and in compliance with the department's policies ©
and procedures, general orders, and the laws of Mississippi.

At all relevant times, HCADC had a Use of Force, Use of Restraints,
Weapons and Use of Force, General Order#10, and a Healthcare Service
policy in place and in full effect. (See the policies attached hereto as
Exhibits “4 - 7”). (See General Order #10 and Use of Force Policy).All
officers were informed and trained on these policies.

It was at all times the policy of the HCADC to thoroughly investigate all
allegations and complaints of misconduct and to take the appropriate
disciplinary action if such allegations were ever sustained. At all relevant
times, the Harrison County Sheriffs Department had a “Professional
Standards Unit” policy in place and in full effect. (See General Order No. 65,
which is attached hereto as Exhibit “8"). The Professional Standards Unit
was responsible for conducting internal administrative investigation and

applicant background development.

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11.

12,

Employees of the Harrison County Sheriffs Department were subject to
disciplinary or corrective actions by their superiors if they failed to comply
with departmental policies, rules and procedures, or if they failed to perform
their duties in a satisfactory manner. A disciplinary board headed by the
Major of specific departments and approved by me convened to hear such
charges. After the disciplinary hearing was concluded, the board made

recommendations to myself and at that time, | reviewed said charges and

- recommendations and made a final determination as to what disciplinary

action should be taken. (See General Order #62 and #44 as Exhibits “9"
and “10".)

At all times, the HCADC, had in place adequate hiring, training and
supervisory procedures for its deputies. It was also the policy of HCADC to
provide appropriate training for all employees, including correctional officers
as required by the laws of Mississippi. See Miss. Code Ann. § 45-4-1, et.
seq. At all relevant times, it was HCADC’s policy to send newly hired
correctional officers to complete an initial forty (40) hour training program by
state certified officers prior to assuming duties in the jail. Upon completion
of this initial forty (40) hour program, correctional officers were to receive on
the job training under the supervision of a field training officer, and an
additional eighty (80) hours of instructional training within the first two years,
followed by refresher training provided throughout the course of the officer's
employment. Specifically, Defendant Thompson received adequate training
in all areas in accordance with Mississippilaw. (See records attached hereto

as Exhibit “11".)

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| have first hand knowledge of the hiring guidelines for the Harrison County
Sheriff's Office that were in place at all relevant times. The Miss. Code Ann.
§ 45-4-1 et. seq. provides that the Board on Jail Officers Standards and
Training should fix a minimum qualifications for the employment of jail
officers in the State of Mississippi. The Harrison County Sheriff's Office
followed these guidelines in hiring correctional officers for the Harrison
County Adult Detention Center. Furthermore, all applicants are subject to a
background investigation and pre-employment medical examination to
determine whether an employee has the physical and mental qualifications
necessary to perform his or her job. Additionally, al employees are required
to successfully pass a urinalysis test upon being offered employment.

All allegations of the use of unwarranted or excessive force that were
brought to my attention were investigated, and if such allegations were ever
substantiated, the officers received the appropriate disciplinary actions.
There did not exist any policy, practice or custom at the HCSD which
condoned the use of unlawful excessive force or the concealment of such
acts. Rather, it was the policy of the HCSD for all corrections officers to use
only those amounts of physical force, O.C. spray and restraints which was
necessary to maintain or regain control of inmates. (See Policy and
Procedure attached hereto as Exhibit “4 -7" ).

During my tenure as Sheriff of Harrison County the Harrison County Adult
Detention Center had in effect a policy providing a process for inmates to file
formal grievances. (See attached Grievance Policy as Exhibit “12”) This

policy included the ability of the inmates to file grievances against corrections

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17.

18.

officers for officer misconduct. All such grievances filed by inmates were
forwarded from the Grievance officer to the Security Officer, who in turn
reviewed and forwarded the grievances to the Harrison County Adult
Detention Center Warden for review. If the Warden determined that any
grievance needed to be investigated further, the Warden and | would
discuss same and after our discussion, | would decide whether to refer the
Officer Misconduct Grievance to the Professional Standards Division for
further investigation.

| took office as the Sheriff of Harrison County in January of 2000 and the
Harrison County Adult Detention Center was under a Consent Decree in the
case of United States of America v. Harrison County, Mississippi, et al., Civil
Action No. 1:95-cv-5GR, at that time. Pursuant to the Consent Decree in
place, the Department of Justice conducted on site inspections at the jail.
Working with the United States Department of Justice’s knowledge and
consent, the Harrison County Adult Detention Center was accredited by the
ACA on January 13, 2003. At that time, the Harrison County Adult Detention
Center was the only county jail accredited in the State of Mississippi by ACA.
In order to become accredited, Ed Hargett, an ACA auditor and expert in
corrections, was hired to assist in. implementing ACA standards and
regulations into the then existing policies and procedures of the Harrison
County Adult Detention Center. Subsequent thereafter, the Harrison County
Adult Detention Center’s Policies and Procedures were formulated and/or
revised to meet ACA national standards and did so as of the date of the

incident alleged in Plaintiff's complaint.

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19,

20.

Numerous actions were taken under my administration to implement the
mandates of the Court Order. The following includes several of those
measures: a) $3,000,000.00 was obtained and spent on new locks, control
panels, and surveillance systems at the Harrison County Adult Detention
Center; b) with the assistance of the federal courts, | was able to hire
eighteen (18) additional officers; c) Harrison County Adult Detention Center
became the only ACA accredited jail in the State of Mississippi and through
such accreditation process the Harrison County Adult Detention Center
revised its policies and procedures in accordance with national standards;
d) | hired full-time training staff and had a comprehensive training program
for the officers; e) enhanced the medical care staffing level by contracting
with full-time health service providers and full-time licensed and qualified
medical professionals. Instituted policies and procedures regarding inmates’
access to said health care services: f) enhanced the inmates access to the
courts through its law library and by making Lexis Nexus resources available
to the inmates; g) Good News Ministry and Life Learning Programs were
brought to the jail and made available for the inmates; h) requested technical
assistance from the National Institute of Corrections Jail Division; and i)
complaints of excessive use of force were investigated according to policy
and, when needed, were also referred to the Federal Bureau of
Investigations.

Upon the completion of the Department of Justice’s compliance tour in
December of 2004, | received a narrative from Steve Martin. | did not

receive Steve Martin’s narrative dated February 1, 2005 until on or about July

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21.

22.

20, 2005. | was deposed in this matter on October 1, 2009 and | stated |
thought | had received this report back in February 2005; however, after the
deposition and upon further review of documents related to Martin’s
narrative, | was mistaken and | did not receive the narrative until after July
20, 2005, as evident by the cover sheet attached hereto as Exhibit “13”.
Upon receipt of the July 20, 2005 Department of Justice Report, which
included the February 1, 2005, narrative from Steve Martin relating to 3
incidents of alleged inmate abuse during November of 2004, and 1 incident
in December 2004, | called Dwight Johnson at the Federal Bureau of
Investigations (“FBI”) and informed him of all 4 incidents, so that the FBI
could investigate or take the necessary action. Also, the Harrison County
Sheriff's Department, Professional Standards Unit completed its investigation
of the November 12, 2004 incident referred to by Steve Martin which
involved inmate Joseph Towner. (See Exhibit “14” for a copy of IA Report
2004-29) As a result of this investigation, it was determined that no HCADC
corrections officer physically assaulted Inmate Towner, but it was determined
that deputies did engage in verbal harassment of Towner, in retaliation for
Inmate Towner striking a HCADC deputy. These deputies were disciplined
for their participation in the verbal harassment of Inmate Joseph Towner.
(See Disciplinary Records collectively attached as Exhibit “15”)

The Sheriff has never been held in contempt of this court's order in the
consent decree. In addition, the National Institute of Corrections, after
exhaustive interviews , policy reviews, and facility inspections certified that

the HCADC policies met the standards for correctional facilities in the United

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State.
23. As the final policy maker of the HCSD, | have never authorized or condoned
any policy, practice, or custom of using excessive force or of falsifying and/or
covering up any acts done by officers of the HCSD.
24. At no time was | ever deliberately indifferent to any detainee’s rights,
including the Plaintiff's.
2/.  Allpolicies attached hereto represent polices and procedures which were in
place and effect at the time of the subject incident.
Further, Affiant sayeth not.

a

“ George Payne,

Sworn to and subscribed before me on thisAhe /a4y day of November, 2009.

Rois @. Butter

Notary Public

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Harrison County Adult Detention Center
Policy & Procedure Directive. .

FACILITY GOALS, PURPOSE AND MISSION

DEFINTIONS: me Don
Facility Administrator refers to the Director of Corrections who is responsible | for

all Correctional facilities Jocated-in Harrison County.

POLICY: The Harrison County Adult Detention Center is established in
accordance with Harrison County Sheriff's Department Policies with the goals of:.

A. Ensuring public safety through the provision of professionally
managed correctional services.of confined offenders detained at
the Harrison County Adult: Detention Center.

B. Providing a level and quality of programs at least equal | to those
provided by state-operated facilities that house similar types of _
inmates. .

MISSION STATEMENTS

It is the mission of the Corrections Division to provide, in a cost effective
manner, the highest degree of facility security and safety for the staff and
inmates. The philosophy of Corrections if predicated upon three assumptions:

1. Incarceration is, in and of itself, punishment;
2. All inmates shall be held accountable for their actions;
-3. . Inmates shall. not leave the facility any worse physically,
-emotionally, or psychologically than when they entered. -

A positive atmosphere shall be created for both the inmates and staff through
the provision of:

1. A safe and secure environment;

2. Adequately trained Correctional personnel;

3. A variety of programs which provide inmates an opportunity to
prepare themselves for eventual reintegration into _ their
communities;

4. — -Positive incentives for inmates through a classification system.

The staff and management of the HARRISON COUNTY SHERIFF'S DEPARTMENT,
Corrections Division are committed to the preservation of the basic human rights
and dignity of the inmate population. Our responsibilities are simply CUSTODY,
CARE AND CONTROL of the inmate population detained in Harrison County.

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PROCEDURE:

I.

= " ENSTITUTIONAL GOALS AND MEASURABLE OBJECTIVES

Harrison » County Adult Detention Center Administrator shall, on an annual basis,

establish goals and measurable objectives to successfully implement the Policy -
and Mission Statement of this Memorandum. These objectives shall be reviewed:

on at least an annual basis“ by the Harrison County Adult Detention. Center -
Administrator or designee and re-formulated: as deemed necessary. The initial:.

goals shall include:

A.

To seek and obtain ACA accreditation from. the American. Correctional. -
Association.

Perform quarterly and unannounced audits to -gauge the overall.

performance of the Harrison County Adult Detention Center departments.

‘Audits shall include a review of policy and procedures to ensure

practicability and soundness. of operational procedures and to ensure
compliance with procedural and mission requirements.

Perform daity accountability checks of security features to determine the
operating status of the Harrison County Adult Detention Center and
correct noted deficiencies in a timely manner.

Conduct «staffing evaluations to determine’ the status of staffing:

deployment relative to functions and the need for increase or re-allotment
of staff resources to correct noted deficiencies.

Develop and improve Management Information System. to eliminate.

unnecessary expenditure of staff time. and resources. “Update information
systems database to meet the overall needs of the institution and the
operational needs of individual departments. The effectiveness of. the

information system as it relates to the overall institutional management

will be evaluated in writing at least annually.

Substance Abuse Treatment is an important part of inmate programming;
therefore, the goal shall be to encourage maximum participation by the
inmate population.

G. Meet or exceed all standards defined by ACA contractual agreements.
TR Dewy O1/ 15/01
Facility Adminigjrator Effective Date /

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Harrison County Adult Detention Center
Policy & Procedure. Directive

CODE OF ETHICS -

‘Tt is the policy of the Harrison: County.Adult Detention Center that.

all employees conduct themselves in a manner that. creates. and
maintains respect for themselves as well as the Harrison County |

Adult Detention Center. In all their activities,. personal and official, -

they should always be: mindful of the high standards of. behavior
expected of them. Therefore, employees shall avoid any action(s)
which might result in, or create’ the appearance of,. affecting:
adversely the confidence of the public in the integrity of the
Harrison County Adult Detention Center. It is expected that
employees will discuss with their supervisors and/or superiors any
problems arising in connection with matters within the scope of this:

policy.

PROCEDURE:

I. GENERAL INFORMATION

The Harrison County Sheriff's Department expects of its employees integrity and

honesty, respect for the dignity and: individuality of human beings and a

commitment to professional and compassionate service. To this end, we will be

guided by the following code of ethics:

1. Employees. shall respect and protect the civil and legal rights of all
individuals. :

2. Employees shall treat every professional situation with concern for the
welfare of the individuals involved and with no intent of personal gain.

3. Employees shall maintain relationships with colleagues to promote mutual
respect within the facility and improve the quality of service.

4. Employees shall make no public criticism of their colleagues or their
facility.

5. Employees shall respect the importance of all disciplines within the
criminal justice system and work to improve cooperation with each
segment.

EXHIBIT

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6." - “ Employees® shall: honor’ the | public’s. right to information and share
information: with the public to the extent permitted by law subject to

. = ~ inglivietials’ right to privacy.
2S Employees shall respect and protect the right of the public to be
' ~~ safeguarded from criminal activity.

8. Employees. shall. refrain from. using their. positions to secure personal
privileges or advantages.

9. " Employees Shall refrain from. -allowing. personal - interests to impair
objectivity inthe performance of duty while acting in.an official capacity.

10. | Employees shall refrain.from entering into any formal or informal activity
or agreement which presents a conflict of interest or is inconsistent with -
... the conscientious performance. of duties.

11. | Employees shall refrain from accepting any gifts, service or favor that is or
appears to be improper or implies an obligation inconsistent with the free
and objective exercise of professional duties.

12. Employees shall clearly differentiate between personal views/statements
and views/statements/positions made on behalf of the facility or Sheriff’s

Department.

13. | Employees. shall report to appropriate authorities any corrupt or unethical
behaviors in which there is sufficient evidence to justify review.

14. Employees. shall refrain from discriminating against any individual because
of race, gender, creed, national origin, religious affi liation, age, disability
or any other type of prohibited discrimination.

15. | Employees shall preserve the integrity of private information; they shall
refrain from..seeking information on individuals beyond that which is
‘necessary to implement. responsibilities and perform their duties;
employees shall refrain from revealing non-public information unless
expressly authorized to do so.

16. | Administrators shall make all appointments, promotions and dismissals in
accordance with established county policy, applicable contract agreements
and individual merit rather than furtherance of personal interests.

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Facility Admfhistrator Effectived Date /

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Harrison County Adult Detention Center
Policy & Procedures Directives

GENERAL RULES OF CONDUCT ©

POLICY: — Employees of the Harrison County Adult Detention Center will obey all

policies and procedures of the Harrison County Sheriff’s Office as well
as the policies and procedures contained in the Harrison County
Juvenile Detention Center procedure manual.

PROCEDURE:

I.

GENERAL INFORMATION

Shift Briefing: The Shift Supervisor wil conduct shift briefing and inspection 15
minutes prior to the beginning of each shift. Personnel scheduled to work who
are not present when shift briefing commences will be considered tardy.

Grooming: All employees will be well groomed at all times following the Sheriff’s
Office policy regarding uniforms, clothing, hair length and style, facial hair, and
the wearing of jewelry:

Courteous: Employees will be courteous when dealing with the public, inmates,

or co-workers,

Professionalism: Professional behavior i is required at all times. Employees will
not engage in any gossip or make any critical remarks that may be-perceived as
racial slurs or unprofessional behavior. Employees must refrain from fraternizing
with people of questionable character on or off duty.

Inmate Treatment: . Employees will treat inmates with courtesy, dignity, and
respect at all times. Employees will be firm but fair when dealing with inmate’s
problems. Employees must not form intimate relationships with inmates during
nor after detention.

Tobacco Use: Tobacco use is permitted in designated areas only. The proper
disposal of ashes, cigarette butts, spit cups, etc. is the responsibility of the user.
Inmates are not allowed to use any tobacco products of any kind. Employees
nor visitor are permitted to give inmates cigarettes or any tobacco products.

Bulletins: Ail personnel will read the bulletin board at the inning and end of
each shift to remain abreast of new orders, policies, etc.

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. Timecards: Timecards will be completed daily. All hours annotated on the.
~*~-timecard-must reflect the exact hours that were worked. Employees may not
=, trade:scheduled workdays with another employee unless both employees’ Shift:

. * Supervisor grant prior approval.

Facility Security: Only Corrections Officers assigned to duty are allowed behind ©
the counter, therefore, other individuals off-duty in that area must be on official
business. Doe 3

Absences:. An employee will be required to furnish a certificate from an
attending physician for any sick leave used in excess of.3 consecutive days; On
site medical evaluations may be offered by Shift Supervisor; Employees absent
from work who fail to call in will be subject to disciplinary actions.

Calling in Sick: When calling in sick, an employee must-call his /her supervisor
at Jeast two hours prior to the beginning of the shift. If unable to reach one of
your supervisors an employee must call the facility and speak only with the Shift
Supervisor on duty. An employee using sick leave which does not require
hospitalization or medical attention will remain at his/her residence. Any change
of status or location must be reported to the on-duty supervisor.

Employees placed on extended sick leave must advise his/her supervisor as soon
as possible. It is advisable to have the doctor's office fax excuse to your
supervisor.

No employee will be denied sick leave. However, abuse of sick leave will be
considered a serious violation and will be dealt with through disciplinary
measures. Abuse will be investigated based on the following circumstances:

1) Pattern of using sick leave before or after normal days off.

2) Pattern of using sick leave.on weekends and/or holidays

3) Established pattern of frequent use of sick leave.

4) Pattern of using sick leave when special events occur in’ the city or
surrounding area.

Annual Leave, Military Leave, Training Leave Request: Any employee requesting
annual leave, military leave or a training leave must submit a leave request form
at least 2 weeks prior to the date the requested leave is to begin. Any employee
scheduled to work on a traditional holiday or county scheduled holiday is
expected to report as scheduled. Depending on staffing needs, limitations may
be placed on the number of employees who may be authorized leave at any
given time.

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Facility Visits: No ex-employee of the Harrison County Sheriff’s Office is allowed
~s~= _ _aceéss inside the facility except in areas available to the general public. Special
iss _,~ visitors such as family members of employees may visit areas in the facility not
._ "0." "accessible to the general public with approval from the Facility Captain or on

duty Shift Supervisor.

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Directorof Céfrections Revisién Date’

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- ‘Harrison County Aditlt Detention Center
Policy & Procedures Directives

USE OF FORCE

POLICY: -. All Corrections Officers assigned to duty in the Detention Center
will use only those amounts of physical force necessary to
maintain or regain control of an inmate. Use-of force is clearly
different from physical punishment that is not tolerated under any
circumstances. In no event will physical’ force be considered
justifiable as punishment.

PROCEDURE: __ In order to give an inmate every opportunity to cease his or her
disruptive or aggressive behavior and cooperate, the Use of
Force Theory documented in general Order #10, 4, will be
followed, excluding Deadly Force (i.e., within the confines of the
Detention Center.)

I. GENERAL INFORMATION:
General Order # 10,4

Use of Force Theory: Five categories of force applicable for corrections
environment:

1) Dialogue 2) Escort Technique 3) Pain Compliance
4) — Methanical Control 5) Impact Weapon

Physical force will only be used as a last resort to control inmates.

All Corrections Officers will be trained in the proper application of physical force
techniques.

II. Oleoresin Capsicum

In the corrections environment, the use of Oleoresin Capsicum (O.C. Spray;
may be used before or after Pain Compliance with any inmate who fails t
comply with verbal orders and the inmate is yet uncontrollable. Only office
that are properly trained will be authorized use of O.C. Spray. Under n
circumstances will O.C. Spray be used on an inmate while in approved

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restraints or behind a locked cell door. The effects may mask or cover other

“ -Medical-.conditions -such as. allergies, heart conditions, lung problems,

diabetes, and: overdoses. resulting from high toxic. levels of drugs like

~..-  Coeainé, Amphetamines, Barbiturates, PCP, Opiates, Heroin or Alcohol.

S == Chemical agents like O.C. Spray is considered and intermediate use of force

TI.

IV.

~ alternative.

Special Circumstances

In unique circumstances where verbal dialogue has failed or has proven to
be impractical, staff may be forced to make a decision, such as whether to

use force on a pregnant inmate or an aggressive inmate with open: cuts, -

sores, or lesions. Special cases such as mentally ill, handicapped, or pregnant
inmates must be carefully assessed by the Shift Supervisor or above, to

.. determine. whether the situation is. critical enough to require the use of

physical force.

Pregnant Inmates — When restraints become necessary for pregnant

inmates, precautions to ensure the fetus is not harmed will be taken.
Medical staff will be summoned immediately to decide whether the inmate’s
restraints are feasible for her condition, or whether the inmate would be
safer restrained in the medical area.

Inmates with Wounds or Cuts — Aggressive inmates with open cuts or
wounds who have attempted to harm. themselves or others should be
carefully approached , with staff wearing protective gear.

MEDICAL EXAMINATION

Medical Staff will be immediately contacted to examine an inmate involved in

an incident requiring the use of force which resulted in injury. An inmate’s ~

refusal or acceptance of an examination must be noted on the Incident
Report. If injuries occurred, medical attention will be provided for the injured
party. Force or restraint may be used when ordered by physician or his
designee in order to allow medical staff to administer medical treatment
deemed necessary. The force or restraint must be under the direct

supervision of a physician & only when treatment is necessary to protect the
health of other persons, as in the case of contagious disease or to protect
the inmate against self-inflicted injury or death.

CLEAN-UP

Any area where there is spillage of blood, or other body fluids, will be
sanitized immediately upon the authorization of the Shift Supervisor or
above. However, the supervisor must first make the determination whether
there is need to preserve evidence. oo

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All blood and body secretions should be immediately removed and placed j in
an appropriate waste disposal container: and’ the area washed witha
disinfectant. In addition, any clothing that have been contaminated with _
"these fluids, including the equipment-and clothing: of staff involved in the -
“use of force, should be immediately disinfected or destroyed, as appropriate
~ (Note: Assistance from the Medical area will be’ sought to assure proper
handling of hazardous waste)

OVID DOCUMENTATION

* Each officer involved will.document force applied at any level on a
Narrative Form. Officer viewing the use of force may be asked to write a
narrative depending upon the circumstances. Complete narratives will be
submitted to the Shift Supervisor at the conclusion of the shift.

Use of Force Situations: It is generally recognized that Corrections
Officers have a right to use force as it relates to five situations.

1. Self-Defense: Correctional Officers may use force in their self-defense.

2. Defense of Third Party: Correctional Officers may use force in the
defense of a third person, including another staff person, an inmate, ora
visitor.

3. Prevention of a Crime: Correctional Officers may use force to prevent the
commission of a crime within the facility.

4. Prevention of an Escape: Correctional Officers may use force to prevent
' an escape. “ , “oe

5. Enforcement of Detention Rules: Correctional Officers may use force in
the-enforcement of facility rules and regulations.

Force is intended to be used as a control measure when necessary. It
will not be used for punishment: In the Use of Force Theory it is not
required that an officer use the previous level on the continuum. By
necessity, the level of force needed is most often made based on a quick
assessment of the potential danger of the situation and the resources
available. Typically the lowest level of force that will most quickly effect .
resolution and neutralize the danger is used.

All control force must cease as soon as the inmate is subdued,
restrained or under control.

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=" : prevent life threatening injury to a person; to. prevent. hostages. from

~~“ Being:taken or to quell. a major disturbance: A-verbal.order to stop must
‘be issued before a shot is fired.. Firearms:will not be: discharged in any.
case where there is reason to believe that the life of an innocent

bystander will be endangered.

Only employees with current certification will-be allowed to carry
firearms, No Corrections Officers will carry firearms or weapons on
his/her person, concealed or not unless acting within the scope of official
duties for the HCADC. Except in emergency s situations, offi icers carrying
firearms are assigned to > perimeter. :

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Te Firgirms will: only be. used 2 as. a: “last. resort to prevent . an: escape, to.

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POLICY: _

- °° Harrison County Adult Detention: Center.
Policy & Procedures Directives

_ USE OF RESTRAINTS

Restraints will be used as a precaution against escape, for medical
reasons, when necessary to control inmates exhibiting violent
behavior and for internal and external movement of inmates.

PROCEDURE: For detention purposes, the basic authorized restraint devices are

the pro-restraint chair, handcuffs, leg irons, waist chains, and
medical restraints. Additional devices include items used by C.E.
R. T. officers. —

I. GENERAL INFORMATION:

A.

No restraint device will be used by any staff member as a means of
punishment.

Only staff members trained in the use of restraints may apply the
authorized devices.

All restraining devices will be used in a humane manner, and applied only
as long-as absolutely necessary: At no time will restraints be applied ina
manner often referred to as “hog tied.” Nor will inmates be. handcuffed
to stair rails.

The use of medical restraints to prevent self-mutilation, self-injury or
suicide, must be approved by a member of the medical staff. In an
emergency situation, the Shift Supervisor will take the immediate actions
necessary to control the situation and contact medical as soon as
possible.

All inmates placed in any type of restraint will be closely monitored.
Handcuffs and ankle shackles are temporary restraints devices. Inmates
will not be cuffed and/or shackled & placed in a holding tank or cell

‘indefinitely or without the permission of the Shift Supervisor or above.

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: \PPLICATION OF MECHANICAL RESTRAINTS:

“Al authorized restraints will be used in the following manner.

* : 1. Restraints will not be applied in a manner which causes undue

physical discomfort, inflict pain, restrict blood circulation or breathing
of the inmate: «If at any time during the. inmate’s restraint an officer
believes a medical problem may be developing he/she will
immediately contact the on-duty supervisor and medical staff.

2. Restraints will not be used about the head and/or neck of the inmate,

except helmets designed for head protection.

3. The maximum amount of continuous time a restraint may be applied. _

. to one individual is four hours. The Security Captain or above must
. authorize continued use of restraints for an inmate who remains
unruly after four hours of being restrained.

4. Restraints must be secured according to training and manufacture

recommended usage.

5. The Booking or Shift Supervisor must approve and will be present and

directly supervise the placement and removal of a subject into the
restraint chair.

III. RESTRAINT OBSERVATION:

aA.

Corrections. Officers will. maintain visual. observation. of the restrained

_inmate.. .A. written five-minute activity log will be maintained for all
~ inmates placed in the pro-restraint chair...

Restraints will be checked for excessive tightness a minimum of once
every 30: minutes. If a loss of circulation i is detected, adjustment will be
made as necessary. If.an inmate complains of pain caused by restraints,

~ the observing. staff member will request an examination of the inmate

from the medical staff.

The Shift Supervisor will review the status and need for continued
restraint of the inmate a minimum of once every two hours and will
document the review on a narrative form.

Any inmate who urinates or has a bowel movement while in the restraint
chair or in medical restraint will be removed from restraint for cleaning as
soon as possible under the circumstances.

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IV. DOCUMENTATION: ©

1“ =A. The Shift. Supervisor is responsible for ensuring: that Narratives and
"Observation Logs are completed.

B. Frequent Security checks and logs must be maintained anytime an inmate is
in the pro-restraint chair. Additionally, the Booking and Shift Supervisor or

above must be contacted to approve or deny the use of the pro-restraint
chair.

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Harrison County Adult Detention Center
Policy & Procedures Directives

HEALTH CARE SERVICES

POLICY: All inmates incarcerated in the Harrison County Adult Detention Center

will have access to medical, dental and mental health services as
needed to maintain basic health.

PROCEDURE:

I.

GENERAL INFORMATION

Medical Care at the Detention Center is a contracted services with NAPH-CARE.
The Medical Staff are available on-site 24 hours per day, seven days a week.
The Medical Staff will deliver services as order by the contracted Physician.
Emergency treatment is available at the direction of Medical Staff.

The Health Service Administrator will submit monthly statistical reports to the
Support Services Captain indicating the number of inmates receiving services.

There is a $5.00 fee for each physician, dentist and mental health visit. Inmates
WILL NOT be denied medical services because of an inability to pay.

It'is the inmate’s responsibility to request non-emergency medical services by
completing a Medical Request Form and leaving it in Medical’s box.

Medical staff will collect medical request forms daily and schedule inmates as
soon as possible.

Corrections Officers must contact medical immediately if there is a medical
emergency.
Health Evaluations will be performed by the medical personnel within 14 days of

incarceration, FREE OF CHARGE.

If a requested medical procedure is not deemed a necessity by the doctor it will
not be provided.

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“Staff members of the facility will not take deliberate action designed to block,
_ deny. or délay access of an inmate to health care services.

Se so.

~ Any time an inmate declines medical services, the refusal will be logged and filed
as part of the inmate’s permanent record.

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General Order #10
Harrison County Sheriff’s Department

—/ / George Payne/Jr, Sheriff

WEAPONS & USE OF FORCE

1 SCOPE

This policy is directed to all sworn personnel.

2 PURPOSE

The purpose of this policy is to establish guidelines for sworn and
reserve personnel regarding the use of force. This policy will also
establish training criteria for both lethal and non-lethal use of force
options.

3. POLICY STATEMENT

The Harrison County Sheriff’s Department recognizes and respects
the value and special integrity of each human life. In vesting deputies
with the lawful authority to use force to protect the public welfare, a
careful balancing of all human interest is required. Therefore, it is the
policy of this Department that deputies will use only that force that is
necessary to bring an incident under control effectively while protecting
the life of the deputy or another.

All sworn personnel will be provided with a precise departmental policy
that establishes guidelines, proscriptions, and limitations on the use of
force generally and the use of force in particular. Additionally, deputies
will be trained in the appropriate and proficient use of force and the
use of control and management of firearms and other non-lethal weapons.

4, USE OF FORCE THEORY
The ability to use force is one of the most basic factors that distinguish

deputies from the rest of society. Because of this responsibility, the use
of force is under constant scrutiny by the public and the courts.

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There are six (6) categories of force options that are available for depu-

ties

A

as a defensive tactic. They are:

Dialogue for talking an individual into compliance with a lawful
request to avoid a physical confrontation.

Escort Techniques are a means of providing a Jew level, non-threat-
ening and nonviolent compliance procedure used to remove an
individual from an area that may present danger to the deputy or
the subject.

Pain Compliance involves the manipulation of a joint to cause pain.
It is generally used in circumstances in which an escort is inappropriate
or ineffective and yet a higher use of force level is not yet justified.

Mechanical Control (a punch, kick, or throw) has a higher degree
of compliance; however, it also has a higher potential for injury to
the subject. It is only appropriate when the preceding levels of force
have been ineffective as a means of control.

Impact Weapon (ASP TACTICAL BATON & PR-24) is an
intermediate level of force that bridges the gap between the use of
hands and fists and the use of deadly force.

Deadly Force (firearms) is used as a final option when all other
means have been unsuccessful.

5. DEADLY FORCE

A.

B

Cc

Deadly Force Defined - Deadly force is any use of force that is likely
to cause death or serious bodily injury.

When May Deadly Force Be Used - Before using a firearm, a deputy
will identify himself and state the intent to shoot, where feasible.

Deputies are authorized to fire their weapons to:

1. Protect himself or others from what is reasonably believed to be
an immediate threat of death or serious bodily harm; or,

2. Prevent the escape of a fleeing felon whom the deputy has
probable cause to believe will pose a significant threat to human
life should escape occur.

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H.

Deadly force will not be intentionally used to maim or partially
disable a person.

Firearms will not be used as instruments of investigation. The
brandishing of a firearm is prohibited, as is the wearing of a sidearm
in plain view in public by non-uniformed deputies, whether on or
off duty, except at crime scenes or in emergencies.

Administrative Action

Where a deputy’s use of force causes death, the Sheriff will determine,
on a case by case basis, whether the deputy will be placed on
administrative leave until all internal investigative requirements
are met. The deputy will be required to undergo an evaluation by
a mental health professional before return to normal duties.

Firearms may also be used:

To kill dangerous animals or to kill animals so badly injured that
humanity requires its release from further suffering,

To give an alarm or call for assistance when no other means is
available.

Additional Restrictions ~-Deputies will adhere to the following
restrictions when their weapon is exhibited:

1. Except for maintenance or during training, Sheriff’s Deputies
will not draw or exhibit their firearm unless circumstances create
reasonable cause to believe that it may be necessary to use the
weapon in conformance with this policy.

2. Warning shots are prohibited.
3. Deputies will not fire their weapons at or from a moving vehicle
unless there is an immediate threat of death or serious bodily

injury to the deputy or other persons.

4, Firearms will not be discharged when it appears likely that an
innocent person may be injured.

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L Animal Control Deputies — Animal Control Deputies of the
Harrison County Sheriff’s Department are exempt from the certain
sections of this firearm policy and will follow the procedures as
directed by the Sheriff or his designate.

In the event a deputy is called upon to destroy an animal, in a non-
emergency situation, the deputy should request assistance from the
on-duty animal control deputy. If the animal control deputy is
unavailable, the deputy may continue with the humanitarian destruction
of the animal. If the animal control deputy is on the scene, the deputy
should relinquish control of the call to anima) control and the destruction
of the animal will be the responsibility of animal control. The animal
control deputy’s judgement shall be weighed heavily before any
decision to destroy the animal.

Deputies are expected to use their best judgement and good common
sense when forced to destroy an animal that is obviously vicious or an
immediate threat to the deputy or other citizens.

J. Restricted Acts — Horseplay and unsafe acts with weapons are stricily
prohibited. When weapons are handed from one deputy to another
for examination or inspection, they will be unloaded and have the
cylinder or slide locked open. Shotguns will be transferred from
one person to another with the action open and rifles will have the
bolt back or action open.

6. ISSUANCE OF FIREARMS
A. Department Issued Weapons

The Glock 22 safety-action semiautomatic pistol will be issued to
each deputy to be used in his official duty. At the time of the
issuance, the serial number will be placed and maintained in a file
kept by the Property Officer. The deputy will accept full
responsibility for the care of the weapon. Two (2) additional
ammunition clips will be provided for each deputy. Each deputy
will keep the additional clips loaded and immediately available
for use.

B. Department Issucd Leather Holsters

Besides the Glock 22 Safety Action pistol, the Department will
issuc each deputy a leather safety holster specifically designed
for the weapon. The holster will be worn by all uniformed
deputies while on duty. Deputies assigned to the Detective
Division will be issued a holster designed for their particular
needs,

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C Personal Holsters / Nylon Duty Gear

Deputies who choose to wear nylon duty gear or Reserve deputies
who purchase their own leather duty gear must select a holster that
provides for a reasonable amount of security to prevent the
weapon from accidentally falling out or to prevent its removal by
a suspect. Any deputy using a holster that is not department
issued must have the holster submitted to the Firearms commit
tee for review before its use.

Upon separation from the department all deputies will surrender
to the Property Officer all weapons, ammunition and related
equipment previously issued to him.

NON-ISSUED DUTY WEAPONS

A. Full-Time / Part-Time Sworn Deputies

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All deputies will be required to carry the Department issued
firearm while on duty. Any deputy who wants to carry any
weapon, other than department issucd, must adhere to the
following guidelines:

1. Number of Rounds

The deputy will be restricted to a revolver capable of
chambering at Jeast six (6) .38 caliber rounds or a semiautomatic
double action pistol capable of chambering at least (7) seven
9mm, 380 caliber, forty caliber or forty-five caliber rounds unless
assigned to special detail.

2. Weapon Brands
Colt, Smith & Wesson, Dan Wesson, Ruger, Beretta, Sig-Sauer
or Safety-action Glock are acceptable.

3. Barrel Lengths
The weapon must have a barrel length between four (4) and six
(6) inches.

4, Approval of Weapons

A “Weapons Authorization Form” must be completed and
submitted. The Weapons Authorization Form requires approval by:
a. Department Armorer

b. NRA Certified Firearms Instructor
c Firearms Committee Chairman
d. Sheriff
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B. Qualifications

Deputies will qualify with off-duty weapons quarterly during
announced qualifications. The deputy must qualify with a
minimuni score of 75% with the weapon.

. C. Investigative Division Personnel

Deputies assigned to the Investigative Division may carry weapons
with less than a four-inch barrel after submitting a written request,
and Weapons Authorization Form as outlined within this policy.

D. Reserve Deputies
1. Number of Rounds

Reserve Deputies of the Harrison County Sheriff’s Department,
while on duty, will be restricted to a revolver capable of
chambering at least six (6) .38 caliber rounds or a semiautomatic
double action pistol capable of chambering at least (7) seven
9mm, 380 caliber, forty caliber or forty-five caliber rounds.

2. Weapon Brands

The Reserve Deputy may carry personal weapons fitting into
this category manufactured by either Colt, Smith & Wesson,
Dan Wesson, Ruger, Beretta, Sig-Sauer or Safety-Action Glock
which have a barrel length of between four (4) and six (6) inches.
The weapon must be approved in the same manner as outlined
within this policy.

3. Qualifications

Reserve deputies will qualify with off duty weapons quarterly
during announced qualifications. Reserve Deputies must qualify
with a minimum score of 75%.

4, Quarterly Qualifications

Reserve deputies wishing to carry a semiautomatic, double
action pistol capable of chambering at least (7) seven 9mm,
forty caliber, or forty-five caliber rounds must qualify with
regular deputies quarterly.

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E. Request To Carry Personally Owned Weapon

Any deputy employed by the Harrison County Sheriff’s
Department wanting to carry a handgun other than those issued by
the Harrison County Sheriff’s Department must submit, in writing,
a request to the Sheriff and the Firearms Committee Chairman. A
“Weapons Authorization Form” must accompany the letter,

The Firearms Committee Chairman shall review the request to
ensure that it complies with the policy. The deputy’s letter of
request and the Weapons Authorization Form either approving or
disapproving the request will be sent to the Sheriff. If the request
does not comply with established policy, the Firearm’s Committee
Chairman will attach a memo to the request explaining the reason
for denying the deputy’s request.

E Off-Duty / Back-up Weapons

Backup guns or off-duty guns must be approved by the Sheriff. All
requests to carry off-duty or back-up weapons will be handled in
the manner as outlined within this policy.

8 CARRYING OF FIREARMS

A. Deputies Required to be Armed at all Times

All on-duty sworn personnel will have a weapon or weapons on
their persons at all times. Although certain hours are designated as
off-duty, deputies in the performances of their police duties are
subject to take police action anytime and should have available his
official identification and a firearm at all times. This section shall
apply to both regular and reserve deputies of the Harrison County
Sheriff’s Department. Sworn, on-duty deputies will havea clearly
articulable reason for not being armed.

B. Exceptions

On-duty deputies will be armed at all times with very few
exceptions. These exceptions may include court appearances,
entering onto certain Federal jurisdictions, entering into the jail
section of the Harrison County Sheriff’s Department, the psychi-
atric ward of Memorial Hospital & the locked ward of the
Transitional Learning Center (TLC). In these and other
circumstances, the deputy will be expected to use discretion, good
judgement and above all, common sense.

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10.

AMMUNITION

All ammunition carried by deputies of the Harrison County

Sheriff’s Department and Reserves, whether department issued or
individually purchased, will be factory loaded of the anti-personnel
design, i.e., hollow point. AH special purpose ammunition such as armor
piercing, ctc. may be carried by the deputy as standby ammunition only.
The Firearms Committee Chairman must approve all ammunition,
other than department issued, before being carried. The carrying of
target type ammunition, such as wad-cutters and solid lead round nose
bullets, is STRICTLY prohibited.

Every sworn deputy will be issued 120 rounds of ammunition at the
time the weapon is issued. Sixty (60) rounds will be used for the
initial qualification. The remaining 60 rounds will be kept by the
deputy for duty purposes. Deputies will be given sixty (60) rounds of
new ammunition once a year. The old ammunition will be used during
the qualification.

SHOTGUNS, RIFLES AND SPECIAL PURPOSE WEAPONS

Weapons falling into the above category, whether department issued
or privately owned, must be approved and qualified with before being
carried. The Firearms Committee must also approve all modifications
to these weapons. While being carried on duty, these weapons, when
not in use, must be secured within the vehicle.

A. Authorized Weapons
All weapons fitting into this category must be manufactured by
Colt, Ruger, Beretta, SpringField Armory, Eagle Arms, H & K,
Remington, Daewoo, Bushmaster or Galile.

B Authorized Calibers

The following calibers are approved:
223, 9mm, and 7.62 mm x 39

C Weapons Approval

All requests to carry the above-described weapons must be
submitted on a Weapon Authorization Form along with written
Justification for the request. The committee will consider no
weapons unless it falls within the above guidelines.

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D. Shotguns

Shotgun ammunition will be factory loaded of the “00 buckshot” or
“slug” category in a size approved by the Firearms Committee.
Special purpose ammunition, such as barricade penetrating tear
gas rounds, may be carried in reserve. Deputies who carry weapons
in the above category must use good judgement and common sense
when using these weapons. The potential for harm to bystanders is
greatly increased by their use. Only EXTREME situations would
warrant the use of the above-described weapons; i.e., barricaded
armed suspects, tactical situations, etc.

Il. TRAINING AND INSPECTION

Firearms will not be issued or carried by any deputy until the Sheriff and
firearms training deputies are assured of the deputy’s ability to handle
and fire the weapon with safety and proficiency.

All full-time and part-time sworn deputies will be required to participate
in an approved semiautomatic transition course before being issued the
Glock 21 Safety-Action pisto). After the initial certification with the weapons,
all personnel, except administrative and staff personnel, will be required
to participate in firearms training monthly. Ali personnel including

administrative and staff personnel will be required to qualify quarterly
using the N.R.A. Distinguished expert course on a date and time designated.

Administrative personnel are those deputies who work from 8:00 a.m. to
35:00 p.m., Monday through Friday and perform administrative duties as
designated by the Sheriff.

A. Qualifications

The Firearms Training Center O.LC. shall coordinate ail monthly
& quarterly qualifications. The O.L.C. will schedule training classes

for tactical and close quarter confrontations, shotgun training, rifle
training and mandatory NRA firearm qualifications. The dates &
times of each qualification will be coordinated through the O.L.C.
of Training & Planning and announced to all designated personnel.

B. Reserve Qualification

Reserve Deputies will qualify three (3) times per year. Reserve
Deputies failing to qualify will be required to retest with a Certified
NRA Instructor until the minimum score is attained before re-
turning to duty. The retesting is not necessarily required to be done
on the same day as the regularly scheduled qualifications.

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C Firearms Committee Meeting

The Firearms Committee Chairman will call a meeting of all
firearms instructors on the Wednesday preceding the quarterly
qualifications.

D. Firearms Inspections

The firearms training deputy will inspect each individual deputy’s
weapons and related equipment during the firearm’s qualification
session. In addition the deputy may be required to produce his
weapons for inspection at anytime by any supervisory person or a
department designated firearms instructor.

12, PR-24 & ASP TACTICAL BATON

The ASP PR-24 Tactical Batons are used to give deputies an
inconspicuous but effective defensive police impact weapon for use in
non-lethal situations. Both impact weapons are authorized for use by
sworn personnel following basic certification; however, the ASP Tactical
baton is the only Department issued impact weapon.

A. Issuance of ASP Tactical Baton

Upon completion of the ASP Basic Certification Program, all
deputies will be issued one (1) ASP Tactical Baton and ASP
Scabbard that shall be issued by the Property Oeputy. Upon
issuance, all deputies, while in uniform, will be required to carry
the ASP Tactical Baton.

B. ASP Basic Certification Training

All deputies issued an ASP Tactical Baton will be required to
complete a four- (4) hour basic certification course before carrying
the ASP Tactical Baton. This program is designed to provide

' efficient defensive weapon tactics for law enforcement personnel.
Deputies of the Harrison County Sheriff’s Department who have
completed an instructor certification course shal! teach the basic
training. The ASP Tactical Baton is a non-lethal defensive weapon
allowed for use by sworn deputies to provide a force option between
hands and fists and the use of deadly force.

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Deputies must maintain control at all times. Every technique must
be evaluated as for its likelihood of gaining control as compared
with its likelihood of causing harm to the subject. Deputies must
maintain a high degree of control so that if a higher force option is
needed, the deputy is prepared for the situation. When evaluating
‘a technique, the most important consideration is deputy safety.
This involves his or her ability to disengage or escalate a response
to any given situation. Any technique that does not allow the deputy
to escalate the force option in response to a subject’s threats is
unacceptable.

C. Maintenance

The ASP Tactica] Baton should be maintained on the same manner
as your firearm. Batons should be kept dry. Due to the exposure to
salty air, water and perspiration, the baton should be periodically
opened and dried with a soft cloth. The butt cap, or plug, should be
checked to make sure it is screwed tightly onto the handle. The tip
should be checked for looseness. If the tip breaks loose, Loc-Tite
should be applicd to the threads to secure it to the end section.
The baton should be periodically checked for hairline fractures or
excessive wear between the sections. Fractures may occur if the
baton is continually opened with too much force.

D. ASP Tactical Baton Operation

Holding the handle and snapping the wrist activates the ASP
Tactical baton. This action causes the blade to extend. The sudden
snap of the wrist locks the shaft into place. To close the baton, the
tip must be struck sharply and directly into a nongiving surface.
When closed, the retaining spring in the handle holds the blade,
preventing accidental extension.

The force necessary to open the baton may be adjusted using the
retaining spring inside the handle. Extending the sides of the spring
outward will increase the force necessary to open the baton. .
Pushing the sides of the spring together will lessen the force needed
to extend the baton,

E. Carrying the ASP Tactical Baton

Every deputy will carry the ASP Tactical Baton while in uniform.
It may be carried on either the reaction side or the weapon side of
the body. It will be carried in the closed mode, tip down. As with
firearms, horseplay and unsafe acts with the ASP Tactical Baton
are strictly prohibited. The ASP Tactical Baton will not be used as
an instrument of investigation.

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Weapon Disarming

The ASP disarming technique is designed te deal with non-aggressive
assailants effectively. It is not intended for-deputies to use the ASP
Tactical Baton to disarm an aggressive armed assailant. The ASP
Tactical Baton should only be used when a deputy believes that the
use of deadly force is not justified and the deputy believes that
using the ASP Tactical Baton may successfully disarm the subject.

Use of Force Documentation

Proper documentation is essential in avoiding potential liability.
Any time a firearm or ASP Tactical Baton is used; the deputy will
be responsible for completely documenting the circumstances
surrounding their usage.

While reports may vary from deputy to deputy in form, the
following details should be included in every report:

1

The type of call that first brought the deputy in contact with
the subject.

The number of persons involved in the situation.

The time of day and physical setting of the call.

What the subject said to the deputy.

The subjects gencral demeanor and attitude.

What the deputy said to the subject.

The subjects actions and reactions and those of the deputy.

A detailed report of all injuries sustained by the deputy and
the subject, including photographs, if possible.

The names, addresses, and phone numbers of all neutral
witnesses not involved in the confrontation.

In addition to the above information, deputies will complete a Use
of Force Report and attach it to the incident paperwork. A copy
will be forwarded to the Director of Operations and the Sheriff.
Deputies will as soon as practical, report all uses of firearms and
the ASP Tactical Baton to his or her immediate supervisor.

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13, PEPPER AEROSOL RESTRAINT SPRAY

The Harrison County Sheriff’s Department will issue OC aerosol
restraint spray to give deputies additional use-of-force options for gaining
compliance or resistant of aggressive individuals in arrest and other
enforcement situations, It is the policy of the Harrison County Sheriff’s
Department that deputies use OC when warranted, but only according
to the guidelines and procedures set forth in this policy.

A. Authorization

I, Only deputies who have completed the prescribed course of
instruction on the use of OC are authorized to carry the device.

2. Deputies who have successfully completed the prescribed course
of instruction and whose normal duties or assignments may
require them to make arrests or supervise arrests shall be
required to carry departmentally authorized OC while on duty.

3. Uniformed deputies shall carry only departmentally authorized
canisters in the prescribed manner on the duty belt. Non-uni-
formed deputies may carry OC in alternative devices as authorized
by the department

B. Usage Criterion

OC spray is considered a use of force and shall be employed in a
manner consistent with the department’s use-of-force policy. OC
is a force option following verbal compliance tactics on the use-of-
force continuum.

OC may be used when:

1. Verbal dialogue has failed to bring about the subject’s compliance,
and

2. The subject has signaled his intention to resist the deputy’s
efforts to make the arrest actively.

Whenever practical and reasonable, deputies should issue a verbal
warning before using OC against a suspect. A deputy may use
deadly force to protect him from the use or threatened use of OC
when the deputy reasonably believes that deadly force will be used
against him if he becomes incapacitated. Once a suspect is
incapacitated or restrained, use of OC is no longer justified.

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C. Usage Procedures

1. Whenever possible, deputies should be upwind from the suspect
before using OC and should avoid entering the spray area.

2. Deputies should maintain a safe distance from the suspect of
between two and ten feet.

3. A single spray burst of between one and three seconds should be
directed at the suspect’s eyes, nose and mouth. Additional
burst(s) may be used if the initial or subsequent burst proves
ineffective. ,

4, Use of OC should be avoided, if possible, under conditions where it
may affect innocent bystanders.

D. Effects of OC and Deputy Response

1, Within several seconds of being sprayed by OC, a suspect will
normally display symptoms of temporary blindness, have
difficulty breathing, burning sensation in the throat, nausea,
lung pain and/or impaired thought processes.

Nv

The effects of OC vary among individuals. Therefore, all suspects
shall be handcuffed as soon as possible after being sprayed.
Deputies should also be prepared to employ other means to control
the suspect to include, if necessary, other force options consistent
with agency policy, previded he does not respond sufficiently
to the spray and cannot otherwise be subdued.

3. Immediately after spraying a suspect, deputies shall be alert to
any indications that the individual needs medical care. This
includes, but is not necessarily limited to, breathing difficulties,
gagging, profuse sweating and loss of consciousness. Upon
observing these or other medical problems or if the suspect
requests medical assistance, the deputy shall immediately summon
emergency medical aid.

4, Suspects that have been sprayed shall be monitored continuously
for indications of medical problems and shall not be left alone
while in police custody.

5. Deputies should provide assurance to suspects who have been
sprayed that the effects are temporary and encourage them to
relax.

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6. Air will normally begin reducing the effects of OC spray within
15 minutes of exposure. However, once the suspect has been
restrained, deputies shall help him by rinsing and drying the
exposed area.

7. Assistance shall be offered to any individuals accidentally exposed
to OC spray and feel the effects of the agent. Al} such incidents
shall be reported as soon as possible to the deputy’s immediate
supervisor and shall be detailed in an incident report.

FE. Reporting Procedures

1, Accidental discharges and intentional uses of OC spray against
an individual in an enforcement capacity shall be reported to
the deputy’s immediate supervisor as soon as possible.

2. A detailed narrative report shall be completed following all
discharge of OC spray except during testing, training, malfunction
or accidental discharge.

F. Replacement

1. Assigned personnel shall maintain all OC spray devices in an
operational and charged state. Requested replacements for damaged,
inoperable or empty devices are the responsibility of deputies
to whom they are issued.

2. Replacements of OC spray canisters shall occur when the unit
is less than half full, as determined by weighing the canister.

3. OC canisters shall be inspected and weighed at the firing range
during firearm qualifications. The appropriate agency authority
shall maintain a record of this fact.

4, Unexplained depletion of OC canisters shall require an
investigation and written report by the deputy’s supervisor to
the Director of Operations.

14. SPITNETS

The SPIT Net manufactured by Eagle Gear, is the authorized expectorant
shield used by the Harrison County Sheriff’s Department for violent,
in-custody subjects who are either spitting at law enforcement personnel
or who are violent and bleeding from the mouth or head area. The
SPIT Net is considered a form of restraint. It prevents a prisoner, in a
safe and humane manner, from projecting body fluids onto police
personnel. The SPIT Net is made from nylon mesh and is large enough
to fit over the head & tied in the back. It is designed to allow unrestricted
breathing & prevent body fluids from contacting the deputy.

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The following operational guidelines will become effective immediately:

A. Purpose—The SPIT Net is a biohazard barricr designed to reduce
the risk of exposure to:

1. HIV (Aids)

2. Hepatitis

3. Tuberculosis

4. Highly dangerous disease pathogens
B. The SPIT Net also acts as a safe deterrent against:

5. Biting;

6. Spitting;

7. And other aggressive behaviors without impairing the deputy’s

ability to monitor the suspect’s physical condition at all time.

C General Guidelines

1. The SPIT Net installation illustration shows the proper method
of attaching the SPIT Net to a suspect.

2. THE SPIT NET WILL NEVER BE TIED AROUND THE
SUSPECT’S NECK FOR ANY REASON,

3. Ifthe SPIT Net cannot be properly secured as shown in the
illustration, it will not be used. The SPIT Net may be used any
time a suspect demonstrates to the deputy any aggressive be-
havior or symptoms of any of the above described conditions.

4, Anytime the SPIT Net is used, deputy’s will continually monitor
the suspect to ensure that it does not become entangled around
the suspect’s neck or become a hazard to the suspect’s safety in
any way.

Atno time will the prisoner be left alone and unmonitored.

5. The SPIT NET is to be discarded after use and is not to be
reused for any reason.

6. The use of the SPIT Net will be documented in the deputy’s
arrest or narrative report describing the circumstances for its use.

7. The SPIT Net will be removed from the prisoner as soon as
it is believed to be safe or as directed by a supervisor

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15. TRAINING COURSES

16.

The handgun certification course will be based upon the NRA
Distinguished Expert Qualification Course. Certification with the shotgun
will be made using the NRA Police Sheteun Qualifications Course. This
course includes 5 rounds of rifled slugs and 5 rounds of 00 buckshot,
using the International Association of Law Enforcement Firearms
Instructors (IALEFI-Q) target.

The deputy will be required to attain a minimum score of 75% for
pistols. A minimum score of 80% will be required for rifles. Seventy-five
(75) percent is the current minimum standard for police pistol
qualifications as determined by the National Rifle Association, The failure

to reach this level of proficiency will require the deputy to return to the
range with a firearms training deputy until the minimum score can be
obtained. If the deputy evidently cannot qualify within a reasonable
length of time, the firearm’s instructor shall notify the Sheriff and the
Firearms Committee for further action.

Training Documentation - All training and certification must be
documented and forwarded to the Training Deputy for filing.

CARE AND MAINTENANCE

All deputies are required to maintain their firearms properly. The Fire
arms Committee prohibits alterations except those specifically authorized,
in writing. The department will pay any repairs to department issued
weapons, which are due to normal, wear or an unavoidable accident.
All repairs of department issued weapons that are the result of abuse,
negligence, or lack of care by the deputy will be the financial responsibility
of the deputy. Damage to personal weapons through normal wear is
the responsibility of the deputy. The department, however, will repair
damage to personally owned weapons sustained due to faulty practice
ammunition.

The property officer is responsible for maintaining all department
weapons that have not been issued to a deputy.

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17, QUALIFICATION COURSES

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STAGE | DIST. | POSITION #RDS TIME
I 25 yrds | Kneeling/standing 18 5
6 rounds kneeling with second
barricade, 12 rounds
with barricade
(Shooters choice of positions)
2 IS yrds | Stage 1: Kneeling/Standing 18 25
12 rounds in 25 seconds second
(6 kneeling & 6 standing)
3 7yrds | Standing/Unsupported Dp 20
second
4 3yrds | Standing (Ready gun Position) 2 20
one hand only! second

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NRA

Police Shotgun Qualification Course

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RIFLED SLUGS
(i) S50yards — lround, standing from shoulder
Time limit — 10seconds
40 yards -— 2rounds, 1 standing from shoulder, 1
kneeling
Time limit — 15 seconds
25 yards -—— 2rounds, 1 kneeling, 1 standing from
shoulder |
Time limit — 15 seconds
00 BUCKSHOT -
(2) *25yards -— 3 rounds, 1 standing from shoulder,
2 knecling
Time limit — 20 seconds
ISyards -— 2 rounds, 1 standing from shoulder, 1
kneeling
Time limit —— 20 seconds
*25 yards only ... Magazine loaded, safety on,
chamber empty

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Scoring

Rifled Slugs: [ALEFI-Q Target, Each hit within the inner ring — 2 points,
any hit within the second ring — 1 point. All other hits are scored as a miss.

00 Buckshot (9 or 12 pellets): No other load is allowed! [ALEFI-Q Target,
any hit in the black — 2 points for 9 pellets; 1.5 points for 12 pellets.

MINI —14 RIFLE COURSE
STAGE 1:
Ten rounds in one (1) minute from the kneeling position
STAGE 2:
Ten rounds in one (1) minute from the sitting position
STAGE3:
Ten rounds in one (1) minute from the prone position
STAGE 4:
Start with two (2) magazines, each loaded with 5 reunds. Fire 5 rounds
standing, unsupported, change magazines, and fire 5 rounds from the
prone position. (one (1) minute time limit).
STAGES:
Start with two (2) magazines, each loaded with 5 reunds, Fire 5 rounds
standing, unsupported, change magazines, and fire 5 rounds from the

prone position. (one (1) minute time limit).
All firing is done from the 50 yard line using the IALEF-Q target.

SCORING
oA hit in the X, 10 or 9 ring counts 2 points each:
: A hit in the 8 ring counts 1 point each
» Any other hit on the target counts as a miss
+ Fifty shots are fired.......... Total possible score is 100

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NIGHT FIRING
20 rounds — 100 points

100 YARD LINE

Prone 5 rounds on call

No Time Limit
50 YARD LINE

1. Prone 5 Rounds w/magazine change

3 seconds

2. Stand to Kneel 5 rounds on call

No Time Limit
25 YARD LINE

1. Standing Ready

2. Stand to Kneel

16,

3 rounds on call

No Time Limit

2 rounds w/magazine change

No Time Limit

ASCORE OF 80% IS REQUIRED TO PASS BOTH COURSES

SHOOTING REVIEW BOARD
A. When Required

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When a deputy, either on or off duty, discharges a firearm (except
during qualifying or target practice), a written report shall be
submitted within 24 hours to the deputy’s immediate supervisor.
The report shall explain the circumstances and reasons surrounding
the discharge as outlined in this policy.

Actions Required

The Shooting Review Board will be convened to review all facts
and circumstances surrounding the events of the discharge of the
weapon in the event of property damage, bodily injury or death
and in all enforcement actions. This board shall, at the end of its
inspection, submit a written report to the Sheriff listing the follow-

1. A synopsis of the incident.

2. Conclusion as to whether the deputy followed or deviated from
department regulations.

3. Any recommendations to the Sheriff concerning the incident.

Shooting Review Board Personnel

The Shooting Review Board shall be composed of the following
personnel:

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1. The Firearms Committee chairman and two (2) members of
the Firearms Committee.

2. The Sheriff or his designees.

D. Administrative Investigations
The Harrison County District Attorney’s Office shall be responsible
for conducting an independent investigation of all shootings
involving deputies of the Harrison County Sheriff’s Department.
The Sheriff may request other independent investigations by the
Mississippi Highway Safety Patrol. HCSD Professional Standards
Division will investigate all other incidents not involving discharge
of firearms.

17. FIREARMS COMMITTEE
A. The Firearms Committee will consist of the following personnel:

J, Firearms Chairman — Must be an NRA certified instructor
and must be elected by other NRA certified firearms instruc-
tors. This is a voluntary position and the deputy selected will
hold the position for one-year (July to July).

2, Firearms Instructors ~ Six instructors are required for the
committee. All must be NRA certified.

CONCLUSION

This policy is for departmental use only and is not intended for use in
any criminal or civil proceeding. The department policy should not be
construed as a creation of higher legal standards of safety or care in an
evidentiary sense with respect to third party claims. Violations of this
policy will only form the basis for departmental administrative sanctions,

The Harrison County Sheriff’s Department recognizes that extreme or
unusual circumstances may occur that would cause a deputy to
deviate from this policy. Deputies are frequently required to make
immediate judgement calls that may not comply with the use of force
policy. In the event that a deputy must take an action that does not
comply with this policy, the deputy will fully articulate & justify, in
writing, the reasons for his or her actions. In all cases, the Department
will fully review the incident to determine if there was sufficient
justification for the deputy’s actions.

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